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 3
                              UNITED STATES DISTRICT COURT
 4                           EASTERN DISTRICT OF CALIFORNIA
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 6
     THOMAS N. SMITH,              )
 7                                 )
                     Plaintiff     )                1:05-cv-1187 OWW GSA
 8                                 )
          v.                       )
 9                                 )
     DARRIN SIMMONS,               )
10   CLEAN AIR PRODUCTS, INC.      )
                                   )
11                   Defendant     )           ORDER TO SHOW CAUSE AS TO
     ______________________________)           PLAINTIFF THOMAS N. SMITH
12
13
           Plaintiff Thomas N. Smith by his attorney, David Gilmore, is
14
     hereby ordered to appear before this Court on Monday, May 11, 2009
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     at 10:00 a.m. to show cause, if any he has, why plaintiff has
16
     failed to file the undertaking required by the Court’s order dated
17
     10/30/2007, document number [87].
18
           Plaintiff is to file any response to the application by
19
     defendants for an order to show cause, document [117], no later
20
     than 5/6/2009.
21
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23
     IT IS SO ORDERED.
24
     Dated: April 16, 2009                  /s/ Oliver W. Wanger
25   emm0d6                            UNITED STATES DISTRICT JUDGE
26
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28                                         1
